Exhibit 1

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STATE BOARD OF ELECTIONS

6400 Mail Service Center @ Raleigh, North Carolina 27699-6400

GARY O. BARTLETT MAILING ADDRESS:
Executive Director P.O. BOX 27255
RALEIGH, NC 27611-7255

July 22, 2011

Abdul K. Hassan Esquire
215-28 Hillside Avenue
Queens Village, N.Y. 11427

Dear Mr. Hassan,

Until Article I!, Section 5 of the United States Constitution is repealed or held otherwise ineffective by
the Supreme Court of the United States; you will not qualify as a Presidential Candidate in the State of
North Carolina because you are not a natural born citizen.

Also please be informed that elections in North Carolina are under the jurisdiction of the N.C. State
Board of Elections and not the Secretary of State, Secretary of State Marshall was kind enough to
forward your letter to our agency.

     

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Don Wright
General Counsel

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